






TEXAS COURT OF APPEALS, THIRD DISTRICT, AT AUSTIN






NO.  03-01-00007-CR


NO.  03-01-00008-CR







Christopher Lee Duvall, Appellant



v.



The State of Texas, Appellee






FROM THE DISTRICT COURT OF BELL COUNTY, 27TH JUDICIAL DISTRICT


NOS. 50,988 &amp; 50,989, HONORABLE JOE CARROLL, JUDGE PRESIDING







Appellant Christopher Lee Duvall pleaded guilty to aggravated kidnapping and
aggravated assault.  See Tex. Pen. Code Ann. §§ 20.04, 22.02 (West 1994 &amp; Supp. 2001).  After
accepting the pleas and receiving evidence relevant to punishment, the district court adjudged
appellant guilty of both offenses and sentenced him to imprisonment for twelve years in both causes. 
Appellant now urges that these convictions violate the constitutional guarantee against double
jeopardy, that the court considered improper evidence in assessing punishment, and that his trial
counsel was ineffective.  We will overrule these contentions and affirm.

Appellant, a seventeen-year-old high school student at the time of the offenses, dated
the complainant for about one year.  On the night in question, appellant called the complainant and
asked her to come to his house to talk.  She agreed to do so.  When the complainant arrived,
appellant took her to his room, locked the door, and turned up the volume on his radio.  Appellant,
enraged because the complainant had been friendly with another boy, pushed the complainant's face
with the palm of his hand with sufficient force to break her nose.  The complainant fell onto
appellant's bed, where appellant straddled her and held a knife to her throat.  He also burned her arm
and stomach with a cigarette lighter, and choked her until she became dizzy.  Appellant placed a
paint ball pistol in the complainant's mouth and "acted like he was going to shoot it."  When the
complainant attempted to flee, appellant seized her and began to beat her with a leather belt.  The
complainant testified, "And then he told me it wasn't hurting bad enough because he wasn't using
the metal part so then he started using the buckle and started hitting me like on my arms and on my
legs."  By this time, the complainant was on the floor, where appellant kicked her and struck her with
his fists.  Appellant finally permitted the complainant to leave his room and he walked her outside. 
There, he struck her three more times, causing her to fall to the ground.  

The entire episode lasted just under an hour.  Appellant's parents were at home while
appellant assaulted the complainant in his room.  Appellant's father twice came to the door and said
"to be quiet, we needed to quit arguing.  And [appellant] told him to go away so he did."

The aggravated kidnapping indictment alleged that appellant


intentionally and knowingly and with the intent to prevent the liberation of [the
complainant] restrain[ed] [the complainant] without the consent of the said
[complainant] by using and threatening to use deadly force on [the complainant] and
the said Christopher Lee Duvall intentionally and knowingly abducted the said
[complainant] with the intent to inflict bodily injury on [the complainant] and to
terrorize the said [complainant].



Id. § 20.04(a)(4), (5) (West Supp. 2001). (1)  The aggravated assault indictment alleged that appellant



intentionally and knowingly use[d] a deadly weapon, to-wit: a knife, and did then and
there intentionally and knowingly threaten [the complainant] with imminent bodily
injury by the use of said deadly weapon.



Id. § 22.02(a)(2) (West 1994); (2) see also id. § 22.01(a)(2) (West Supp. 2001) (assault). (3)

Appellant contends his conviction for both of these offenses violated his rights under
the Double Jeopardy Clause.  U.S. Const. amend. V. (4)  The State counters that the double jeopardy
issue was not preserved for review.

Appellant did not object to being tried on both indictments or otherwise assert his
double jeopardy claim prior to conviction and sentencing.  Appellant alleged double jeopardy in one
of his motions for new trial, but did not pursue the issue at the hearing on the motion.  While
appellant mentioned double jeopardy during his argument to the court at the new trial hearing, he
did so only in the context of his ineffective assistance claim.  The question presented is whether
appellant can now raise his double jeopardy contention on appeal.  

"[B]ecause of the fundamental nature of double jeopardy protections, a double
jeopardy claim may be raised for the first time on appeal . . . when the undisputed facts show the
double jeopardy violation is clearly apparent on the face of the record and when enforcement of usual
rules of procedural default serves no legitimate state interests."  Gonzalez v. State, 8 S.W.3d 640,
643 (Tex. Crim. App. 2000).  Under Gonzalez, the critical question is not whether the defendant
raised the double jeopardy issue in the trial court, but whether the record before the appellate court
clearly reflects a double jeopardy violation.  If a double jeopardy violation is clearly apparent, the
defendant will prevail on appeal; if a double jeopardy violation is not apparent, the defendant's claim
fails on the merits regardless of whether he objected at trial.  In other words, raising the issue in the
trial court is important insofar as it is necessary to make a clear record on which to base a double
jeopardy claim on appeal.  See id. at 645-46.  Applying Gonzales, we now determine whether a
double jeopardy violation is clearly apparent on the face of the record.

The Fifth Amendment guarantee against double jeopardy protects against a second
prosecution for the same offense following conviction, against a second prosecution for the same
offense following acquittal, and against multiple punishments for the same offense.  Illinois v. Vitale,
447 U.S. 410, 415 (1980); Cervantes v. State, 815 S.W.2d 569, 572 (Tex. Crim. App. 1991).  When
a defendant is convicted of two or more crimes in a single trial, only the third of these protections
is implicated.  Ex parte Herron, 790 S.W.2d 623, 624 (Tex. Crim. App. 1990).  The double jeopardy
guarantee against multiple punishments for the same offense does no more than prevent greater
punishment than the legislature intended.  Missouri v. Hunter, 459 U.S. 359, 366 (1983); Ex parte
Kopecky, 821 S.W.2d 957, 959 (Tex. Crim. App. 1992).

When the same act or transaction violates two different penal statutes, the two
offenses are the same for double jeopardy purposes if one of the offenses contains all the elements
of the other; they are not the same if each offense has a unique element.  Blockburger v. United
States, 284 U.S. 299, 304 (1932); Hutchins v. State, 992 S.W.2d 629, 631 (Tex. App.--Austin 1999,
pet. ref'd, untimely filed).  Absent a clear indication of contrary legislative intent, it is presumed that
the legislature did not intend to authorize multiple punishments for two offenses that are the same
under the Blockburger test.  Whalen v. United States, 445 U.S. 684, 691-92 (1980); Hutchins, 992
S.W.2d at 631.

An element of any aggravated kidnapping is the abduction of another.  Pen. Code
§&nbsp;20.04(a), (b).  Abduction is not an element of aggravated assault.  Pen. Code §§ 22.01(a), .02(a). 
In order to prove the aggravated assault alleged here, the State was required to prove that appellant
used or exhibited a deadly weapon.  Pen. Code § 22.02(a)(2). (5)  The use or exhibit of a deadly weapon
was not an element of aggravated kidnapping as alleged here.  Pen. Code § 22.04(a). (6)  Thus, the
offenses for which appellant was tried and convicted each had a unique element and were not the
"same offense" under Blockburger.

Even when two penal statutes have unique elements, and are therefore not the same
under Blockburger, other factors may lead to the conclusion that the legislature did not intend to
permit multiple punishments when the same conduct violates both statutes.  Ervin v. State, 991
S.W.2d 804, 814 (Tex. Crim. App. 1999).  Among the relevant considerations enumerated in Ervin,
only one applies to the offenses before us: both are second-degree felonies.  Tex. Pen. Code Ann.
§§ 20.04(d), 22.02(b) (West 1994 &amp; Supp. 2001).  But aggravated kidnapping and aggravated assault
are not contained within the same statute, are not phrased in the alternative, and are not named
similarly.  The two offenses do not have a common focus: the  focus of kidnapping is abduction,
while the focus of assault is injury or the threat of injury.  Finally, appellant does not assert  "an
imputed theory of liability which would result in the offenses being considered the same," or refer
us to legislative history articulating an intent to treat the offenses as the same for double jeopardy
purposes.  Ervin, 991 S.W.2d at 814.  In summary, we are not persuaded that the legislature intended
to prohibit multiple punishments under the circumstances shown here.

Appellant argues that the aggravated assault was a lesser included offense of the
aggravated kidnapping.  See Parrish v. State, 869 S.W.2d 352, 354 (Tex. Crim. App. 1994) (lesser
included and greater inclusive offenses are same for double jeopardy purposes).  This argument is
based on the erroneous premise that it was necessary for the State to prove the aggravated assault in
order to prove the aggravated kidnapping.  In addition to assaulting the complainant with a knife as
alleged in the aggravated assault indictment, appellant was also shown to have choked the
complainant, beaten her with a leather belt, kicked her, and struck her with his fists.  Any of the latter
acts was sufficient to threaten deadly force as alleged in the aggravated kidnapping indictment. (7) 
Thus, contrary to appellant's argument, his use of a knife as a deadly weapon was not necessarily
a common element of both offenses.

Appellant did not timely raise his double jeopardy claim in the district court.  A
double jeopardy violation is not clearly reflected on the face of the record before us.  For these
reasons, point of error three is overruled.

Appellant's remaining points of error relate to the district court's consideration of a
presentence investigation report in assessing punishment.  See Tex. Code Crim. Proc. Ann. art.
37.07, § 3(d) (West Supp. 2001).  This report, which was introduced in evidence at the motion for
new trial hearing, included a victim impact statement.  Among other things, this statement contained
a paragraph summarizing the views of the complainant's mother.  She asked the court not to trust
appellant.  She said appellant was "a manipulator" who bragged that he always got out of trouble,
and opined that "it is time the defendant finally be held responsible for something."  She said that
appellant "is very cold and calculating," that he "has the mind set of a serial killer," and that
"everything [appellant] did to the victim was very carefully planned."  She asked the court to send
appellant to prison, "as she believes that he will continue to be abusive to women if he still has
contact with them."

A second paragraph in the victim impact statement summarized the views of the
complainant's stepfather.  He called what appellant did to the complainant "torture" and "attempted
murder."  He asked the court "to consider prison as punishment for the defendant and to not allow
him the privilege of being placed on community supervision."

Appellant contends the district court's consideration of these statements in the
presentence investigation report denied him his constitutional right of confrontation and was
fundamental error.  See U.S. Const. amend. VI.  Appellant did not object to this portion of the
presentence report, nor did he object to the district court's consideration of these matters during
sentencing.  His contention that his confrontation right was violated was not preserved for review. 
See Briggs v. State, 789 S.W.2d 918, 924 (Tex. Crim. App. 1990) (alleged denial of confrontation
was not fundamental, and was waived by failure to object); Gerhardt v. State, 935 S.W.2d 192, 196
(Tex. App.--Beaumont 1996, no pet.).  Point two is overruled.

Finally, appellant urges that his trial attorney did not render effective assistance by
failing to voice any objection to those portions of the presentence report discussed above.  We
measure claims of ineffective assistance of counsel against the standard set forth in Strickland v.
Washington, 466 U.S. 668, 687 (1984), and adopted in Hernandez v. State, 726 S.W.2d 53, 57 (Tex.
Crim. App. 1986).  The Strickland standard requires the defendant to show both that his counsel
made serious errors and that those errors caused serious harm.  466 U.S. at 687.  For the purpose of
this opinion, we will assume without deciding that it was error for the district court to consider the
statements by the complainant's mother and stepfather before assessing punishment.  But see Fryer
v. State, 993 S.W.2d 385, 389-90 (Tex. App.--Fort Worth 1999, pet. granted) (consideration of
similar statements contained in presentence report not error).  

In determining whether the first element of the Strickland test is satisfied, we decide
whether the record establishes that counsel failed to provide reasonably effective assistance. 
Strickland, 466 U.S. at 687-88; Hernandez, 926 S.W.2d at 55; Wilkerson v. State, 726 S.W.2d 542,
548 (Tex. Crim. App. 1986).  The defendant must demonstrate that counsel's performance was
unreasonable under the prevailing professional norms and that the challenged action was not sound
trial strategy.  Strickland, 466 U.S. at 688; Stafford v. State, 813 S.W.2d 503, 506 (Tex. Crim. App.
1991).  We do not evaluate the effectiveness of counsel in hindsight, but from counsel's perspective
at trial.  Strickland, 466 U.S. at 689; Ex Parte Kunkle, 852 S.W.2d 499, 505 (Tex. Crim. App. 1993);
Stafford, 813 S.W.2d at 506.  We assess the totality of the representation, rather than isolated acts
or omissions.  E.g., Wilkerson, 726 S.W.2d at 548.  We presume defense counsel provided
reasonable professional assistance and the defendant must present proof to overcome this
presumption.  Jackson v. State, 877 S.W.2d 768, 771 (Tex. Crim. App. 1994) (quoting Strickland,
466 U.S. at 689); Hernandez, 726 S.W.2d at 55; O'Hara v. State, 837 S.W.2d 139, 143 (Tex.
App.--Austin 1992, pet. ref'd).

Generally, we will not speculate about counsel's trial strategy.  See Jackson, 877 
S.W.2d at 771; Delrio v. State, 840 S.W.2d 443 (Tex. Crim. App. 1992).  In this case, we have no
record from which we may discern that strategy.  Although appellant complained of ineffective
assistance in his motions for new trial, he confined his questioning of trial counsel at the new trial
hearing to the issues of trial preparation and advice.  Counsel was not asked to explain why he did
not object to the presentence reports.  Nothing in the record before us reveals counsel's strategy with
regard to the omissions appellant now cites to show the ineffectiveness of counsel's representation. 
On this record, appellant cannot overcome the strong presumption that his trial counsel's strategy
was reasonable from counsel's perspective at trial.  See Jackson, 877 S.W.2d at 771-72; Bohnet v.
State, 938 S.W.2d 532, 536 (Tex. App.--Austin 1997, pet. ref'd); Oestrick v. State, 939 S.W.2d 232, 
237-38 (Tex. App.--Austin 1997, pet. ref'd).  But see Gifford v. State, 980 S.W.2d 791, 793-94
(Tex. App.--Houston [14th Dist.] 1998, pet. ref'd) (trial counsel ineffective for failing to object to
complainant's father, a former prosecutor, making punishment recommendation).

If trial counsel erred by failing to object, we are not persuaded that the error caused
appellant serious harm.  See Hernandez v. State, 988 S.W.2d 770, 772 (Tex. Crim. App. 1999) (both
Strickland prongs apply to claim of ineffectiveness at punishment stage).  It would have come as no
surprise to the experienced trial judge that the complainant's mother and stepfather had a low
opinion of the young man who brutalized their daughter, and that they wanted him severely
punished.  While appellant had no criminal record and was eligible for deferred adjudication,
imprisonment for twelve years does not seem an unusually harsh punishment when the nature of
appellant's conduct is considered.  Appellant has not demonstrated that there is a reasonable
probability that the punishment assessed would have been different but for counsel's error.  See
Strickland, 466 U.S. at 694.  Point of error one is overruled.

The judgments of conviction are affirmed.



				__________________________________________

				David Puryear, Justice

Before Justices Kidd, B. A. Smith and Puryear

Affirmed

Filed:   October 4, 2001

Publish
1.        "A person commits an offense if he intentionally or knowingly abducts another person with
the intent to . . . inflict bodily injury on him . . . [or] terrorize him or a third person."  Tex. Pen. Code
Ann. § 20.04(a)(4), (5) (West Supp. 2001).  Throughout his brief, appellant mistakenly assumes that
he was indicted pursuant to section 20.04(b) (abduction accompanied by use or exhibit of a deadly
weapon).  Id. § 20.04(b).
2.        "A person commits an offense if the person commits assault . . . and the person . . . uses or
exhibits a deadly weapon during the commission of the assault."  Tex. Pen. Code Ann. § 22.02(a)(2)
(West 1994).
3.        "A person commits an offense if the person . . . intentionally or knowingly threatens another
with imminent bodily injury."  Tex. Pen. Code Ann. § 22.01(a)(2) (West Supp. 2001).
4.        Appellant does not assert a claim under the Texas Constitution.  See Tex. Const. art. I, § 14.
5.        See footnote 2, supra.
6.        See footnote 1, supra.
7.        The use or threatened use of deadly force is part of the culpable mental state of kidnapping. 
Mason v. State, 905 S.W.2d 570, 575 (Tex. Crim. App. 1995) (citing Brimage v. State, 918 S.W.2d
466, 475-76 (Tex. Crim. App. 1996)).  In the indictment here, however, the State alleged the use or
threatened use of deadly force as if it were a part of the forbidden conduct. 


